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IN THE UNITED STATES DISTRICT COURT §§ f.--§_§-."Tr l f nmi E_ h
FOR THE WESTERN DISTRICT OF TENNESSEE j ° ' 6
WESTERN DIVISION -- 1

 

 

AMERICAN COPPER & BRASS, INC.,
on behalf of itself and all others similarly
situated,

Plaintiff,

>i‘?l-=!->i'>f'=i-=i

v. CIVIL ACTION NO. 04-2771 - D V
BOLIDEN AB; BOLIDEN
FABRICATION AB; BOLIDEN
CUIVRE & ZINC S.A.; HALCOR S.A.;
HME NEDERLAND BV; IMI PLC; IMI
KYNOCH LTD.; YORKSHIRE
COPPER TUBE LTD; KM EUROPA
METAL AG', TREFIMETAUX SA;
EUROPA METALLI SPA; MUELLER
INDUSTRIES, INC; WTC HOLDING
COMPANY, INC.; MUELLER EUROPE
LTD; DENO HOLI)ING COMPANY,
INC.; DENO ACQUISITION EURL‘,
OUTOKUMPU OYJ; OUTOKUMPU
COPPER PRODUCTS OY; WIELAND
WERKE AG; AUSTRIA BUNTMETALL`”
AG; and BUNTME'I`ALL AMSTETTEN *
G.M.B.H., *

'k

Defendants. *

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ORDER FOR ADMISSION PRO HAC VICE

 

Upon motion by counsel for defendants ll\/ll plo and lMl Kynoeh Ltd., the plaintiff’ s lack oi`

opposition to the motion, and for good cause shown, it is hereby

Tms document entered on the docket sheet in co plience
wm eu!@ss andior?e(a) FHCP on § ' \_2._' 05

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ORDERED that Mark S. Olson and Ranelle A. Leier of the law firm ofOppenheimer, Wolt`f
& Donnelly, LLP, 3300 Plaza VII Building, 45 South Seventh Street, Minneapolis, Minnesota
55402-1609, are hereby admitted to the bar of this court pro hac vice for the purpose oi` acting as

counsel for defendants IMI plc and IMI Kynoch Ltd., in the a ove-captioned matter.

  
    

STATES D TRICT JUDGE

.../
Date: CMM/// jjdtj

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 75 in
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Honorable Bernice Donald
US DISTRICT COURT

